Case: 2:24-cv-00072-DCR-CJS           Doc #: 144 Filed: 01/09/25         Page: 1 of 2 - Page
                                         ID#: 5541



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                NORTHERN DIVISION
                                    (at Covington)

  STATE OF TENNESSEE, et al.,                 )
                                              )
        Plaintiffs,                           )         Civil Action No. 2: 24-072-DCR
                                              )
  V.                                          )
                                              )
  MIGUEL CARDONA, in his Official )                               JUDGMENT
  Capacity as Secretary of Education, et al., )
                                              )
        Defendants.                           )

                                    ***   ***     ***   ***

       In accordance with Rule 58 of the Federal Rules of Civil Procedure and the

Memorandum Opinion and Order entered this date, it is hereby

       ORDERED and ADJUDGED as follows:

       1.     Judgment is entered in favor of Plaintiffs Commonwealth of Kentucky,

Commonwealth of Virginia, State of Indiana, State of Tennessee, and State of West Virginia and

Intervenor Plaintiffs Christian Educators Association International and A.C., by her next friend

and mother Abigail Cross, and against Defendants Miguel Cardona and the United States

Department of Education.

       2.     The Final Rule entitled “Nondiscrimination on the Basis of Sex in Education

Programs or Activities Receiving Federal Financial Assistance” (the “Final Rule”), 89 Fed.

Reg. 33474 (Apr. 29, 2024) is unlawful because: (a) Title IX’s prohibition on “sex”

discrimination does not include the bases or conduct covered by § 106.02’s hostile-environment

harassment definition, § 106.10, or § 106.31(a)’s regulation of sex-segregated facilities and

programs; (b) it violates the Spending Clause and the First Amendment; (c) it is arbitrary and

                                             -1-
 Case: 2:24-cv-00072-DCR-CJS             Doc #: 144 Filed: 01/09/25            Page: 2 of 2 - Page
                                            ID#: 5542



capricious; and, therefore, (d) the Plaintiff States, their political subdivisions, and their recipient

schools need not comply with the Final Rule to receive federal funding.

         3.    The Final Rule entitled “Nondiscrimination on the Basis of Sex in Education

Programs or Activities Receiving Federal Financial Assistance” (the “Final Rule”), 89 Fed.

Reg. 33474 (Apr. 29, 2024), and its corresponding regulations including, but not limited to 34

C.F.R. §§ 106.10, 106.31(a)(2), and 106.2 are VACATED.

         4.    This is a FINAL and APPEALABLE Judgment and there is no just cause for

delay.

         Dated: January 9, 2025.




                                                 -2-
